                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

  UNITED STATES OF AMERICA                      )
                                                )
        v.                                      )       Case No.: 4:18-CR-00011-MFU-RSB
                                                )
  SHABBA LARUN CHANDLER,                        )
                                                )
        Defendant                               )

       EMERGENCY MOTION FOR A SEVEN (7) DAY ABEYANCE OF START OF
               TRIAL AFTER JURY SELECTION/SWEARING IN

             COMES NOW, Defendant Shabba L. Chandler (the “Defendant”), by and through his

   counsel of record, and respectfully moves this Court for entry of an Order granting an abeyance

   of the beginning of trial of this matter following the selection and swearing of the jury. In

   support thereof, the Defendant states as follows:

             1.   Throughout this entire case, the Government has produced hundreds of thousands

   of electronic files, including video interviews of co-defendants and other witnesses.

             2.   In these interviews, several of the government’s key witnesses are shown a

   portion of video (date stamped June 28, 2017) of Deshawn Anthony, the leader of the Milla

   Bloods, providing a statement to law enforcement as an inducement for them to cooperate with

   law enforcement.

             3.   The video statement of Mr. Anthony, in fact, induced several targets to cooperate

   with law enforcement – which many of whom did and are now noticed as witnesses for the

   Government.

             4.   Throughout this litigation, defense counsel has repeatedly requested a copy of this

   video, but the Government has consistently claimed that the video was corrupted, lost or

   otherwise unavailable.

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          5.     After renewed demands from defense counsel for a copy of the video, Assistant

   United States Attorney Heather Carlton stated the following in an email dated October 4, 2019,

   at 12:31 p.m. to all defense counsel:

         “We have never been able to play it nor does Danville PD have a working copy.
         We litigated this issue before Judge Urbanski in the Bloods case back in November
         2018. We informed Russ Aoki on March 29, 2019 that all attempts to recover the
         video were unsuccessful. Other interviews of Deshawn Anthony are on video and
         contained in discovery.”

           6.    On October 5, 2019, two days prior to the start of trial, Ms. Carlton advised counsel

   of the following:

         “The Danville Police Department was unexpectedly able to track down a working
         copy of the below video and delivered it to me in Roanoke last night. We made
         copies for each of you, and a copy will go out to Discovery Counsel on Monday by
         overnight Fedex. The video is in a proprietary format, but we have included copies
         of the exe. Files with the video files.”

           7.    The video is approximately three (3) hours long and contains extremely valuable

   information relevant to the defense in this case.

           8.    As of the filing of this Motion, only counsel for Marcus Davis, Phillip Miles,

   Dashaun Trent, and Shabba Chandler have been able to view the video in its entirety. Since the

   disc containing the video was delivered in Roanoke, counsel for the remaining defendants have

   not had an opportunity to view the video.

           9.    The disclosure of this video on the eve of trial completely compromises ongoing

   trial preparation by defense counsel. The video contains valuable impeachment evidence and

   directly impacts potential cross-examination of the Government’s key cooperating witnesses.

   Additionally, the video contains information that will impact defense counsel’s opening

   statements and potential direct examination of defense trial witnesses.

           10.   Undersigned counsel, while recognizing the efforts expended in setting and



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   keeping the current trial date, but also recognizing the effort spent by themselves and counsel

   for the co-defendants in this case to deal with the overwhelming discovery produced, prays that

   this Court hold in abeyance the beginning of the adducement of evidence in the trial so that

   counsel can fully review the newly produced video and to investigate all of the factual allegations

   contained therein, locate and interview witnesses, conduct research, and fully prepare to address

   these newly discovered issues at trial.

              11.   A failure to grant a continuance would result in a miscarriage of justice and

   prejudice to the Defendant who cannot be prepared for trial due to the late disclosure by the

   Government of this evidence.

              12.   Defendant proposes that the taking of evidence in this case be held in abeyance for

   a period of seven (7) days until after the jury has been selected and sworn. Such an abeyance

   will ensure that defense counsel has sufficient time to fulfill their ethical obligations to their

   client as it relates to this video.

              13.   The due process rights of the defendant will best be served by this brief abeyance,

   as the ends of justice outweigh the best interests of both the public and the defendant were the

   Court to keep the current trial schedule.

              14.   Undersigned counsel has consulted with all counsel for the remaining defendants

   and advises the Court that all defendants join in this Motion and the relief sought herein.

          WHEREFORE, Shabba L. Chandler defendant respectfully prays that this Court hold the

  start of the trial in this matter in abeyance for seven (7) days following the seating/swearing of

  the jury.




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                                                       Respectfully submitted,

                                                       SHABBA LARUN CHANDLER

                                                       By: /s/      Aaron Balla Houchens___
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         Counsel for Defendant


                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 6th of October 2019, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, and the foregoing was electronically transmitted

  through the CM/ECF system to the following CM/ECF participants:

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                                                                 /s/   Aaron Balla Houchens___


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